      Case 2:16-cv-07493-CBM-GJS Document 18 Filed 04/03/17 Page 1 of 1 Page ID #:256


                                          UNITED STATES DISTRICT COURT
                                         CENTRAL DISTRICT OF CALIFORNIA
                                              CIVIL MINUTES - GENERAL                           JS-6

 Case No.           CV 16-7493-CBM(GJSx)                                               Date   APRIL 3, 2017


 Title      SECURITIES AND EXCHANGE COMMISSION v. JAMES T. BRAMLETTE, ET AL.,


 Present: The Honorable           CONSUELO B. MARSHALL, UNITED STATES DISTRICT JUDGE


                    YOLANDA SKIPPER                                              NOT REPORTED
                        Deputy Clerk                                               Court Reporter


                  Attorneys Present for Plaintiffs:                      Attorneys Present for Defendants:
                           None Present                                            None Present


 Proceedings:           IN CHAMBERS-ORDER AND NOTICE TO ALL PARTIES

The Court is in receipt of the parties joint status report, filed on March 29, 2017.

Counsel are hereby notified that pursuant to the joint status report, the matter has been settled and the Court
hereby dismissed the case pursuant to Fed. R. Civ. P. 41 (a)(1)(A). [JS-6]

IT IS SO ORDERED.



cc: all parties




          CV-90                                       CIVIL MINUTES - GENERAL             Initials of Deputy Clerk ys
